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http://www.news-medical .net/news/201205 02/Dixie-announces-new-hemp-based-Cannab...

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Case 1:15-cv-00701-JWF Document 60-16 Filed 08/30/18 Page 1

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About Es bret

Esixiel foirtanidonal is a presciptcn meddas used to treal psople witha
lng dineave caled idopalivc pulmonary Riotosls (IP).

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Dixie announces new hemp-based Cannabidiol |
products without THC i

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(CURT) [Share] (Tatars

Dixie Elixirs and Edibles, Colorado's premie~ Tetrahydrocannab hat om THC-
products company, today ar nounced a new line of products which will oe AK entirely mew
arousye for the company in the category of non-THC-infused sroduct developmen.

Futtowing closely on the feels of its acquisition by cannabis and hemp industry emmovators
Madical Marijuana, Inc. (O7C: MINA), today's anmatncement consists of three nev hemp-
pased Cannabidial (C80) preducts that contain no THC:

Gel Freed

“Cron the day thet we created our het medicated altars, we fave kerri?
that as an industry we Have onty Just begun to tap the very cep healttr ara
healing properties of cannabis”

« Bide DexCrocs: a sublingual giycatin-nased tincture Cesigned for pain relief

« Gide Botaricaig: a topical pain rehef saive and massage of

» Dixie Scrips: a pharmeceutt -cyade CBD capsule in cwo varietias, ane for daytime
focus/mental energy and Sie other a aight time sieap ald

a Food and Crug Administration (FDA; currently considers herp based cannabinoids,
inaindind CBO, to be “food based" and therefore legal without 3 medical marijuana
cense. Amonas: tha many potential uses far CAD~ based products thet are currently

under evaluetien, CBD's have bee shown to relieve convulsion, inte
end nausea. Based an medicc! potential and the fecerally legai status at remp-based
CBO praducts, Cixie anc Medica! Marijoena, fnec. estimate the market in the U.S. to be
yall over $5 billion. These three new progucts are the first of many thar the companmes
intend to brag to the market in the coming year

nirnatian, anxiety,

Dixie witl imltialiy offer the naw nee avi 8 aR arma one imate
procucts exclusively to their existing
customer base which consists of over
4950 dispensaries in the state of
Colorado, This consurner basi
represents in excess of 70 percent af
the addressable medical marijuana
marked in Calorad] and over nine
percent of ie US. medical cagnabis
market. Within 90 days the Company

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tis to launch a mail order oreparation of cannmaths oll: am interviery
campaign and oni ne €-commerce with Akgon Weke

platform that will allaw indiv duals Z

ibreughout the U.S. to purchase these

products since they contain ne THC. Tre U.S. avalability «ill be followed closely by
distrigution in internationat markets including Europe via several key product dstriburon
rajationships that are currently uader negotiation.

“Froc ine day thar we created our first medicated elixirs, we nave known that os an
industry wwe Rave only just begun te lag the very deep heekth and healing properties of
cannabis," said Tripp Keber, Presidect end CEG of Oixie “rs and Red Dice Holdings,

i These three nev products open u nrid of sotertial for Dixie and Mecicat

na, Ine. te bring heathy alzernatives ta millions of pal 4s aho micht otherwise
oxparrerice che tremendous Ganetits of cannabingids. This truly an exciting
deyelopment for Gixe ana we look fuiward to sringirg Dixie Scrips, Gixre Dew Orops, ane
Dinie Botanicals to patients around the country and around the werd wha are lookiog for
2 healinfui alte-native to mass-produced, man-made pharmaceutical products”

Source:
Die Elixins ania edigles

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